Case 2:13-cv-14205-BAF-DRG ECF No. 12 filed 04/15/14                     PageID.57      Page 1 of 2



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MICHIGAN

CHERYL BESSER, individually and on behalf of
all others similarly situated,                                 Case No. 2:13-cv-14205-BAF-DRG

                         Plaintiff,

           v.

AFFINITY GROUP CREDIT UNION,

                         Defendant.

                                  STIPULATION OF DISMISSAL

           Plaintiff Cheryl Besser (“Plaintiff”), and Defendant Affinity Group Credit Union

(“Defendant”), by and through their undersigned counsel and pursuant to Fed. R. Civ. P.

41(a)(1)(A) and Fed. R. Civ. P. 23(e), hereby stipulate to the dismissal of this action, with

prejudice as to Plaintiff’s individual claims, and without prejudice as to the claims of any alleged

class members. No motion for class certification has been filed and no class has been certified in

this action. Accordingly, class notice and Court approval of the settlement are not required under

Fed R. Civ. P. 23(e). In exchange for the Plaintiff’s individual release of claims set forth in a

Confidential Settlement Agreement and Release dated March 18, 2014 (the “Settlement

Agreement”) and such other consideration set forth in the Settlement Agreement, the parties

hereby request that the Court dismiss with prejudice Plaintiff’s individual claims and dismiss

without prejudice the claims of any alleged class members, and retain jurisdiction to interpret

and enforce the terms of the Confidential Settlement Agreement and Release entered into by the

parties.
Case 2:13-cv-14205-BAF-DRG ECF No. 12 filed 04/15/14     PageID.58     Page 2 of 2



Dated: April 15, 2014

Respectfully submitted,

/s/ Sunshine R. Fellows               /s/ Lisa T. Milton
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